               Case 1:21-cr-00687-RC Document 38-2 Filed 10/17/22 Page 1 of 1


    From:
    To:           Trevino, Marty (SE) (TFO)
    Cc:           Walters, Lisa N.
    Subject:      [EXTERNAL EMAIL] - Contraband items from the 6th
    Date:         Tuesday, August 24, 2021 2:39:37 PM


﻿
﻿
As far as I know the items are all legal in dc and on federal property. They aren’t allowed in the Capitol building but
believe it’s just administrative. If someone is found with them they get escorted out or fill out a contraband for
destruction form 103a if you didn’t want to leave.
﻿
﻿
﻿
This was the smaller utility like knife, very similar

﻿ Spyderco Tasman Salt 2 Lightweight Folding Knife with 2.91" H-1 Ultra-Corrosion-Resistant Steel Blade and Black
 FRN Handle - PlainEdge -
 C106PBK2 https://www.amazon.com/dp/B075V8JD5B/ref=cm_sw_r_em_apa_glt_fabc_WWJQW0TNQ1HP86KXJ2XN?
 psc=1

This was the bigger karambit style knife

MASALONG kni204 Outdoor Survival Claw Tactical folding knife D2 Steel EDC knives (black stone
wash) https://www.amazon.com/dp/B08VWM8491/ref=cm_sw_r_em_apa_glt_fabc_XV51KG3RH641EGSJ5NJS?
_encoding=UTF8&psc=1

This is probably the exact type of pepper spray

SABRE Crossfire Pepper Gel, Maximizes Target Acquisition, Deploys At Any Angle, 18 Bursts of Maximum Police
Strength OC Spray, 18-Foot Range, Gel is Safer, Belt Clip For Quick Access To
Protection https://www.amazon.com/dp/B07GVSHG61/ref=cm_sw_r_em_apa_glt_fabc_A99FJDDQPC7HSBZ5C55Q


Officer




Sent from my iPhone
